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                                                          June 13, 2016


BY EXPRESS MAIL AND EMAIL

Liam Brennan, Esq.
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District of Connecticut
157 Church Street, 25th Floor
New Haven, CT 06510

       Re: United States v. Shapiro, et al., No. 3:15-CR-00155 (RNC) (D. Conn.)

Dear Counsel:

        Defendants Ross Shapiro, Michael Gramins, and Tyler Peters provide this letter to
notify the government, pursuant to Federal Rule of Criminal Procedure 16(b)(1)(C)(i), that
they may call the expert witnesses described herein if a defense case is presented. Pursuant to
our agreement, Defendants intend to disclose one additional potential expert on or before June
27, 2016, and it is anticipated that the in limine motion schedule, as pertaining to experts,
shall be adjusted accordingly, as agreed.

        This summary of testimony is provided without prejudice to the Defendants’ rights to
amend, supplement, or otherwise modify this disclosure depending on, among other things,
whether the government designates any experts in its case in chief, the nature and scope of
any such experts’ testimony and opinions, the testimony and exhibits to be offered by the
government in its case in chief, and/or the receipt of documents or other evidence from the
government or third parties prior to trial. Defendants expressly reserve the right to
supplement this disclosure with exhibits and demonstratives, including, without limitation,
those reflecting the fair market value and profitability of any trades that will be the subject of
proof by the government in its case in chief.

1.     Frank J. Fabozzi, Ph.D.

       a.       Qualifications

                Frank J. Fabozzi has over 40 years of industry and academic experience, has
                authored hundreds of articles and other scholarly works, and is a widely
                recognized authority in the areas of structured finance, fixed-income securities,
                and portfolio management. He is Professor of Finance at EDHEC Business
                School, and Senior Scientific Adviser and co-head of the fixed-income
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                 research program at the EDHEC-Risk Institute.1 Dr. Fabozzi is also a
                 Teaching Fellow in Executive Programs at the Yale School of Management.

                 In the Spring 2016 semester, he was a visiting professor in the Department of
                 Operations Research and Financial Engineering at Princeton University where
                 he taught a graduate course in quantitative asset management. From 2014 to
                 2015, Dr. Fabozzi was Visiting Fellow for the Department of Operations
                 Research and Financial Engineering at Princeton University, and for the 2013-
                 2014 academic year was the James Wei Visiting Professor in Entrepreneurship
                 in Princeton’s School of Engineering and Applied Science. Prior to that, from
                 1994 through 2011, Dr. Fabozzi held multiple professorial positions in finance
                 at the Yale University School of Management. From July 2003 to June 2011,
                 Dr. Fabozzi served on the Advisory Council for the Department of Operations
                 Research and Financial Engineering at Princeton University. From 1986
                 to1992, he was a Visiting Professor of Finance in the MIT Sloan School of
                 Management. In addition, Dr. Fabozzi has held professorships in finance and
                 economics at Queens College (CUNY), Lafayette College, and Fordham
                 University.

                 Dr. Fabozzi is the editor of the Journal of Portfolio Management and an
                 associate editor of several other journals related to structured finance and the
                 trading and valuation of fixed-income securities. He is the editor of The
                 Handbook of Fixed Income Securities, a definitive and trusted resource in the
                 world of fixed-income investing, and The Handbook of Mortgage-Backed
                 Securities.

                 Dr. Fabozzi frequently consults for and presents on topics in fixed income
                 securities and portfolio management to government agencies. This has
                 included, among others, the U.S. Securities and Exchange Commission, U.S.
                 Department of Justice, Federal Home Loan Bank of Atlanta, Federal Reserve
                 Board, Federal Home Loan Bank of New York, as well as major financial
                 institutions. Dr. Fabozzi has been a trustee for a complex of funds sponsored
                 by BlackRock Inc. (the closed-end funds) since its inception in 1988. He also
                 served for two years as a trustee for the BlackRock Inc. equity-liquidity funds
                 complex. He was previously a trustee for the Guardian family of open-end
                 funds and variable annuities.

                 In 2002, Dr. Fabozzi was inducted into the Fixed Income Analysts Society
                 Hall of Fame, which recognizes lifetime achievements of outstanding
                 practitioners in the advancement of the analysis of fixed-income securities and
                 portfolios. In 2015, Dr. Fabozzi was awarded the James R. Vertin Award by
                 the CFA Institute, in acknowledgement of his contributions to the profession of
                 investment management. In 2007, he received the C. Stewart Sheppard Award


1
 EDHEC is a French institution of higher learning, known as a “grande ecole” with campuses in France, London
and Singapore.


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        from the CFA Institute for his leadership and education efforts in the
        investment management profession.

        Dr. Fabozzi graduated from City College of New York with a B.A. and M.A.
        in Economics in 1970. Dr. Fabozzi obtained his doctorate in economics from
        the City University of New York in 1972. He earned the designation of
        Chartered Financial Analyst in 1977 and Certified Public Accountant in 1982.
        Dr. Fabozzi received an Honorary Doctorate of Humane Letter from Nova
        Southeastern University in June 1994.

    b. Summary of Opinions and Bases: It is anticipated that Dr. Fabozzi, if called as
       a witness, would testify, all based on his education, training and experience, as
       to his opinion on the following issues:

            i. Explanation of RMBS. How RMBS are structured, how they perform,
               and how they are evaluated as investments, including specifically
               during the time period covered by the Superseding Indictment, when
               RMBS were viewed as distressed assets. What a non-agency RMBS is
               and how its expected value to an investor is driven by assumptions
               about the underlying mortgage pool and other factors such as default
               rates, recovery rates, prepayment rates, housing market conditions, and
               geographical factors.

      ii.      The RMBS Market. The structure and unique features of the non-
               agency RMBS market, and, in particular, the market as it existed during
               the time period relevant to the Superseding Indictment. The market
               was and remains opaque and illiquid, and during periods of market
               stress, such as the period relevant to the indictment, investors executed
               non-agency RMBS transactions within a wide price range, and
               expected non-agency RMBS transactions to be executed within a wide
               price range.

     iii.      The non-agency RMBS market is dominated by sophisticated
               institutional investors, such as hedge funds and large asset managers,
               who invest heavily in research, modeling, and other kinds of qualitative
               and quantitative analytics. A reasonable investor in this market would
               conduct rigorous, independent research, analysis, and due diligence,
               including making a determination of the price range in which the
               investor would or would not buy RMBS, before entering the market to
               buy or sell non-agency RMBS.

     iv.       Relationship between Investors and Traders. The nature of the
               relationship between traders and investors in the non-agency RMBS
               market, the difference between agency and principal trades, the rules
               and conventions governing these respective trades, and the manner in
               which dealers are compensated for their trading activities. Dealers



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             have different obligations depending on whether they are transacting
             with Qualified Institutional Buyers (“QIBs”) or non-QIBs.

      v.     In the RMBS market, trades are typically done on a principal-to-
             principal basis, and constitute arms-length transactions between
             sophisticated parties whose economic interests are in direct conflict
             with one another. Dealers are exposed to risk in this market in every
             kind of RMBS trading scenario, whether they are acting as a
             proprietary buyer or seller in a proposed RMBS transaction, or acting
             as a dealer between a counterparty buyer and seller in a proposed
             RMBS transaction.

     vi.     The dealer owes no duty of “best execution” to counterparties in
             principal-to-principal trades in the non-agency RMBS market. The
             dealer has no obligation to disclose the dealer’s acquisition price or
             profit in principal-to-principal trades of non-agency RMBS. In
             principal-to-principal trades, the dealer’s profit on a trade consists of
             the difference between the prices at which the firm purchases and sells
             a bond, which prices incorporate any mark-up on the bond in issue.
             There are no separate commissions. Certain of the trade confirmations
             relating to the charged offenses illustrate Dr. Fabozzi’s opinions
             regarding the principal-principal nature of these trades.

    vii.     Analysis of Counterparty Models. The complexity of certain models
             used by buy-side firms (and obtained by Defendants through
             discovery), their importance to investors, the assumptions used in the
             models, the variance of such assumptions, and the relative sensitivity of
             the models to those assumptions.

    viii.    Process that Non-Agency RMBS Investors Use to Make Investment
             Decisions. The manner in which sophisticated investors in the non-
             agency RMBS market make decisions about whether to buy, sell, or
             hold a bond, including the role of proprietary modeling in the decision-
             making process, as well as other relevant market information, and how
             reasonable investors go about acquiring, compiling, evaluating and
             verifying such information. A reasonable investor, such as the
             sophisticated counterparties identified in the Superseding Indictment,
             would give little, if any, weight to statements made by a dealer in the
             course of negotiations, including the dealer’s representations about the
             price at which the dealer previously purchased the RMBS, whether the
             RMBS was being sold from the dealer’s inventory, or whether the
             dealer was acting as an intermediary. It would be a breach of the
             counterparties’ duties to their own investors to rely on such
             representations in making a decision whether to purchase an RMBS
             and, if so, at what price. As an economic matter, the dealer profit as a




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                       principal on a given trade has no effect on the future cash flows from
                       the bond.

           ix.         The market roles of investors and dealers, what information they
                       typically exchange, and how dealers are compensated. The typical
                       dynamics of negotiations in the non-agency RMBS space and, in
                       particular, that reasonable investors treat unverifiable information with
                       skepticism. The counterparty’s unverified acquisition price would not
                       affect a reasonable investor’s decision about whether to purchase a
                       non-agency RMBS and at what price.

           x.          Range of Prices Paid for Non-Agency RMBS. Since non-agency
                       RMBS were viewed as distressed assets during the time period covered
                       by the Superseding Indictment, reasonable investors were willing to
                       pay, and did pay, a range of prices for the same RMBS during the same
                       periods of time. Dr. Fabozzi may further explain, based on his review
                       of the trade confirmations obtained by Defendants during discovery,
                       the amount of profit or loss realized by the counterparties identified in
                       the Superseding Indictment through their prior or subsequent trades of
                       the RMBS they bought from or sold to Nomura.

2.    Andrew Favret

      a.        Qualifications

             Since September 2015, Andrew Favret has been a Managing Director of
             Oyster Consulting, LLC, a firm located in Richmond, Virginia. Oyster
             provides comprehensive audit, compliance, operations, technology, trading and
             strategic management consulting to financial services firms.

             Mr. Favret has over 25 years of experience in the financial services industry.
             The bulk of his experience was acquired during his employment with the
             Financial Industry Regulatory Authority (FINRA) (formerly known as the
             National Association of Securities Dealers or NASD). FINRA is the largest
             self-regulatory organization for the securities industry in the United States, and
             is responsible for the regulation of broker-dealers and their associated persons.
             At FINRA, Mr. Favret was employed as an Enforcement attorney in the New
             Orleans district office from 1991 until 2014, and from 1998 until 2012, he was
             Regional Chief Counsel, responsible for the supervision of Enforcement
             personnel in the New Orleans, Dallas, Atlanta and Boca Raton offices.

                More specifically, as Regional Chief Counsel, Mr. Favret was responsible for
                the review and approval of all settlements resulting from Enforcement actions,
                and all complaints authorized against registered firms and their associated
                persons. These disciplinary actions arose out of investigations of sales practice
                and trading practices abuses, and involved a wide range of violations of



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       FINRA rules, as well as SEC and Municipal Securities Rulemaking Board
       (MSRB) rules. Enforcement cases would routinely require an analysis of
       whether the underlying conduct warranted charges of fraud, under either SEC
       or FINRA rules, against a firm or an individual associated with a firm.

       During his employment at FINRA, Mr. Favret also had significant involvement
       in the development of new rules and policies, particularly with respect to
       variable annuities, fixed income products, day trading and structured products.
       He was a frequent speaker on these and other topics at industry conferences.

       Mr. Favret has a Bachelor of Arts degree from the Catholic University of
       America, a Master of Arts degree from St. John’s College and a Juris Doctor
       from the Catholic University of America. He retired from FINRA in January
       2014. Prior to his employment with FINRA, Mr. Favret was an associate with
       the Dechert law firm in Washington, D.C., in the firm’s securities and banking
       practices. He has been an active member of the District of Columbia bar since
       1987.

 b.    Summary of Opinions and Bases: It is anticipated that Mr. Favret, if called as
       a witness, would testify, all based on his education, training and experience, as
       to his opinion on the following issues:

           i. Securities Industry Terminology and Practices: Concerning certain
              terms relevant to RMBS trading, and related industry practices cited in
              the Superseding Indictment:

                  1. A broker-dealer is a securities firm that is in the business of
                     buying and selling securities. “Broker” refers to a broker-dealer
                     effecting securities transactions, in an agency capacity for
                     others. When acting as agent, broker-dealers charge a
                     commission to their customers. “Dealer” refers to a broker-
                     dealer acting as “principal,” which means buying securities for
                     and selling securities from its own account. When acting as a
                     principal, in fixed-income markets, a broker-dealer is
                     compensated through mark-ups or mark-downs to the price of
                     the security itself. No commission is charged when a broker-
                     dealer acts as principal. In the institutional fixed income
                     market, principal trades are viewed as arms-length transactions
                     between counterparties whose interests diverge and who owe no
                     fiduciary duties to each other. That view is consistent with the
                     FINRA mark-up rule that applies to non-investment grade fixed
                     income instruments that trade between dealers and qualified
                     institutional buyers (“QIBs”).

                  2. Furthermore, when acting as a principal and negotiating with
                     QIBs over the purchase of RMBS, a dealer has no customer



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                     responsibilities to the QIB regarding price. Therefore, the
                     dealer has no obligation to bid an amount conveyed by a
                     potential buyer to the seller and there is no FINRA rule to the
                     contrary.

          ii. The Superseding Indictment’s references to “commissions” are
              misplaced. Nomura did not charge commissions on any of the trades
              referenced in the Superseding Indictment. The term “commission”
              applies when a broker-dealer is acting in the capacity of agent and is
              not relevant in the fixed-income market (which includes RMBS).
              Relevant trade tickets and confirmations indicate Nomura, acting as
              principal and trading for its own account, earned compensation by
              selling RMBS bonds to counterparties at prices higher than its
              acquisition costs, and Nomura did not receive any other remuneration
              or charge any other fee for the execution of these principal transactions.

         iii. The terms “all-in” and “on-top” referenced in the Superseding
              Indictment are not terms that are derived from, or recognized by,
              securities industry regulation. Strictly speaking, all trades with a
              broker-dealer acting as principal are “all in” because when an
              agreement is reached, the transaction is always memorialized on the
              confirmation with a single price to the customer. There are no other
              separate fees or charges for the transaction. The terms “all-in” and “on-
              top” are jargon used by market participants in RMBS markets as part of
              price negotiations.

                 1. Trade confirmations reflect this “all in” understanding. As
                    governed by SEC Rule 10b-10, in the context of fixed income
                    transactions, a broker-dealer, when acting in the capacity of
                    principal on a fixed income transaction, is under no duty to
                    disclose its cost or the amount of mark-up or mark-down that it
                    charges on the purchase or sale of a bond. Consistent with
                    applicable disclosure requirements, when acting as principal,
                    dealers in debt securities are under no obligation to disclose
                    their costs or mark-ups or mark-downs.

                 2. Buy-side bond market participants such as asset managers,
                    investment funds, and hedge funds do not regard disclosure of a
                    dealer’s costs or profits as important; rather institutional bond
                    buyers focus on total price and yield, which necessarily take
                    into account any embedded profit in the price quoted by a
                    dealer; these buy-side firms are equipped to evaluate the
                    fairness of a price and negotiate accordingly. Attempts on the
                    regulatory level to require dealers to disclose mark-ups and
                    require greater price transparency have been opposed by both
                    the “sell side” and the “buy side.”



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                3. The Superseding Indictment’s description of what purports to
                   be “on-top commission” does not comport with industry
                   disclosure requirements and fixed income trading practices.
                   Since a broker-dealer typically does not disclose its acquisition
                   costs (i.e., the “price the broker-dealer paid to the seller”) and
                   does not quote prices in relation to its acquisition costs, the
                   customer typically has no way of knowing how much additional
                   compensation might be “on top” of a broker-dealer’s cost. The
                   applicable regulations do not require dealers to disclose this
                   information. Rather, a more typical negotiation would involve a
                   buyer’s agreement to pay some price greater than its bid. It is
                   incorrect to assume that a buyer’s bid depends upon, or is the
                   equivalent of, a broker-dealer’s acquisition cost.

                4. “Best execution” is a term that encompasses a number of
                   components including, among other things, speed of execution,
                   size of execution, market depth, commitment of capital, recent
                   order flow, confidentiality/anonymity, certainty of execution,
                   and price. Institutional market participants routinely choose to
                   trade with dealers that offer the best execution in terms of the
                   size of the negotiated order without regard to achieving the
                   lowest price at which a particular bond may trade at a given
                   time.

                5. Broker-dealers owe a duty of “best execution” to “customers”
                   (as “customers” is defined in the applicable FINRA
                   regulations). However, the duty of best execution is
                   inapplicable to the situation in which a broker-dealer is
                   transacting with a QIB in non-investment grade bonds. The
                   duty of best execution is subsumed by the QIB exemption for
                   non-investment grade bonds, as set forth in FINRA Rule
                   2121.02, as that exception in effect puts broker-dealers and their
                   QIB customers in the role of arms-length counter-parties
                   concerning the pricing of non-investment grade bonds. Nomura
                   and the defendants had no duty to offer better prices to their
                   QIB counter-parties, or otherwise assist those counter-parties in
                   executing at a better price. Rather, they were free to negotiate
                   any price with a QIB, irrespective of the profit earned on the
                   trade. The point of the QIB exemption is that the sophistication
                   of the QIB in negotiating the transaction is the sole check on the
                   price of the transaction. By definition, “the QIB has the
                   capacity to evaluate independently the investment risk and in
                   fact is exercising independent judgment in deciding to enter into
                   the transaction.” FINRA Rule 2121.02(b)(9).




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                 6. Furthermore, in some segments of the bond market, including
                    the RMBS market in 2009 through 2013, there was no
                    consolidated or listed market that was available to market
                    participants. There were no alternative exchanges or electronic
                    trading platforms. RMBS markets are negotiated, not order
                    driven, lack robust pre-trade price discovery mechanisms, and
                    lack electronic access to firm quotes. Accordingly, the
                    assessment of best execution in real time, let alone after the fact,
                    is a much different process for an RMBS dealer than for an
                    equities dealer. In the stock market, where the markets are
                    transparent, the duty of best execution is more straightforward
                    and easier to apply. With respect to equity brokerage, a
                    brokerage firm has an obligation to review its executions to
                    ensure that it is routing its order flow to the markets and other
                    trading venues where it has the highest likelihood of achieving
                    the best price. Thus, instead of simply filling an order at the
                    first available quoted price, it must check around to other
                    markets and route the order accordingly. An RMBS dealer, by
                    contrast, does not have the same pre-trade price quote discovery
                    that an equities dealer has and therefore cannot conduct a
                    similar review of post-trade executions to determine if, in fact,
                    best execution was achieved. In any event, the RMBS dealer
                    has no obligation to conduct such a review.

                 7. From the QIB buy-side perspective, there is a different duty of
                    best execution: that of the investment manager to his clients to
                    get the most favorable execution price for his client under the
                    circumstances. This is typically done by comparing quotes
                    from various dealers and negotiating with one or more dealers.
                    Again, price is not the sole consideration. Speed, size,
                    certainty, and other factors with respect to a transaction of
                    institutional size may also be relevant, as well as relationships
                    that an investment manager may have with dealers that may
                    benefit its client.

         iv. A buy-side account is not required to transact with a particular dealer.
             Nothing that the defendants did prevented any buyer from seeking price
             and other information from other dealers. Given the fiduciary duties
             these sophisticated buy-side professional investment firms owed their
             clients, which are assumed to have been satisfied, there is nothing that
             the defendants did that caused their counter-parties to transact with
             Nomura at prices higher than the prices available from other firms
             unless it was in the interest of these buy-side firms to do so. If lower
             prices were available, the buy-side accounts likely would have traded
             away from Nomura. The fact that the buy-side account chose to
             transact with Nomura indicates that Nomura in all likelihood had the



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              best price (or only price) for an RMBS of the relevant size in the
              market at the time.

          v. From the buy-side account’s perspective, one could only say that the
             price component of a trade execution was “poor” in terms of a
             comparison to what was available from other broker-dealers. If the
             price negotiated was the only price available in the market there would
             be no basis to conclude that the execution was “poor” and that the price
             should have been better.

          vi. Trade Specific Opinions: Concerning each of Nomura’s counterparties
              to the charged trades, the relevant firm is a QIB.

                                             Sincerely,

                                             GREENBERG TRAURIG LLP

                                          By: /s/ Marc L. Mukasey
                                             Marc L. Mukasey
                                             Attorneys for Michael Gramins

                                             PETRILLO KLEIN & BOXER LLP

                                          By: /s/ Guy Petrillo
                                             Guy Petrillo
                                             Attorneys for Ross Shapiro

                                             ALSTON & BIRD LLP

                                          By: /s/ Brett D. Jaffe
                                             Brett D. Jaffe
                                             Attorneys for Tyler Peters




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